      CASE 0:24-cv-00434-DWF-ECW            Doc. 22     Filed 03/20/24    Page 1 of 11




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Preston Byron Knapp,                               Case No: 0:24-cv-00434 (DWF/ECW)

              Plaintiff,
                                                      DEFENDANT’S MEMORANDUM
vs.                                                    OF LAW IN OPPOSITION TO
                                                      PLAINTIFF’S PRO SE MOTION
Wings Credit Union; AKA Wings Financial                 FOR SANCTIONS AGAINST
Credit Union,                                         ATTORNEY TESSA MANSFIELD
              Defendant.


                                    INTRODUCTION

       Plaintiff Preston Byron Knapp’s (“Plaintiff”) Motion for Sanctions against Wings’

attorney, Tessa Mansfield Hirte (“Attorney Hirte”), appears to be based on a fundamental

misunderstanding of the nature of Rule 12 of the Federal Rules of Civil Procedure and the

appropriate timing and scope of motions to dismiss. Plaintiff is under the mistaken belief

that a defendant is not allowed to bring a motion to dismiss until the plaintiff has perfected

service. This is incorrect. Nothing in the Federal Rules of Civil Procedure prevents a party

from bringing a motion to dismiss prior to proper service. In fact, Rule 12(b)(5) expressly

allows a party to bring a motion to dismiss based on ineffective service of process. Indeed,

contrary to Plaintiff’s assertion, Wings Financial Credit Union’s (“Wings”) Motion to

Dismiss clearly disclosed that it had not been personally served by raising the defense of

ineffective service of process.

       In addition, Plaintiff’s Motion must be denied for failure to follow the procedural

requirements for a motion for sanctions, as set forth in Rule 11 of the Federal Rules of Civil
     CASE 0:24-cv-00434-DWF-ECW            Doc. 22     Filed 03/20/24    Page 2 of 11




Procedure. Plaintiff failed to provide the required “safe harbor” notice to Wings or

Attorney Hirte indicating his intent to seek sanctions or allow 21 days for Attorney Hirte

and Wings to withdraw the allegedly deficient Motion.

       Finally, Plaintiff’s Motion asserts that Attorney Hirte violated 15 U.S.C § 1 and

Rules 3.3 and 3.4 of the Minnesota Rules of Professional Conduct. These assertions are

completely unsupported by the facts or law. Attorney Hirte’s filing of a viable Motion to

Dismiss on behalf of her client in no way implicates 15 U.S.C. § 15, which prohibits

monopolies and restraints on trade, nor does it violate any of Minnesota’s Rules of

Professional Conduct. As such, Plaintiff’s Motion for Sanctions against Attorney Hirte

must be denied.

                              FACTUAL BACKGROUND

       Defendant Wings Financial Credit Union (“Wings”) and Plaintiff entered into a

number of binding agreements related to a mortgage loan and home equity line of credit

(“HELOC”), which are secured by the property owned by Plaintiff and his wife. See

Compl. ¶¶ 10–11; see also Hirte Decl. dated 3/13/24 Exs. 1-4, ECF Nos. 10-1, 10-2, 10-3,

10-4. This case arises out of Plaintiff’s frivolous attempts to avoid actually paying Wings

the amounts he owes under the parties’ binding contracts and is being brought solely to

harass Wings and advance the conspiracy theories of Plaintiff’s “attorney-in-fact” Brandon

Joe Williams.1 See Compl. ¶¶ 39, 43.


1
  Williams holds himself out as able “to take on litigation” as an attorney-in-fact and lists
this case as one of his cases on his website. See Compl., ¶ 39; Hirte Decl. dated 3/13/24
Ex. 5 at 6, ECF No. 10-5 (referencing Williams and Williams Law Group); Williams &
Williams           Law           Group,          How             Litigation          Works,

                                             2
     CASE 0:24-cv-00434-DWF-ECW              Doc. 22     Filed 03/20/24     Page 3 of 11




       Plaintiff and his wife have also commenced a separate lawsuit in the District of

Minnesota against Compass Minnesota, LLC and Daniel Phillip Hollerman, their former

real estate broker and agent, asserting claims similar to those asserted here. See Knapp v.

Compass Minnesota, LLC, No. 24-cv-00100-SRN-DTS (D. Minn.). Attorney Hirte is one

of the attorneys representing Wings in this case and is also one of the attorneys representing

defendant Compass Minnesota, LLC (“Compass”) in the Compass case. See id. In the

Compass matter, Plaintiff and his wife attempted to serve Compass via certified mail rather

than by personal service, as required by the Federal Rules of Civil Procedure. See

Declaration of Tessa Mansfield Hirte (“Hirte Decl.”), Ex. 1, Notice of Service of Process,

Knapp v. Compass Minnesota, LLC, No. 24-cv-00100-SRN-DTS (D. Minn. Feb. 2, 2024);


https://www.williamsandwilliamslawfirm.com/how-litigation-works (last visited Mar. 19,
2024) (describing how he “take[s] on litigation,” including how he expects a “VERY
LARGE DOWN PAYMENT . . . DUE AT THE BEGINNING OF THE LAWSUIT” that
can “range from $50,000-250,000,” and that he will split the winnings of a lawsuit
“50/50%”); see also Williams & Williams Law Group, Current and Previous Litigation,
https://www.williamsandwilliamslawfirm.com/current-and-previous-litigation                 (last
visited Mar. 19, 2024) (listing this case, as well as a similar case brought by Plaintiff and
his wife against their former real-estate brokers); Williams & Williams Law Group,
Testimonials and Successes, https://www.williamsandwilliamslawfirm.com/testimonials-
and-successes (last visited Mar. 19, 2024) (noting that he “will add more testimonials here
of people that I do actual work for as paid clients”); Williams & Williams Law Group,
Questions         and       Answers,          https://www.williamsandwilliamslawfirm.com/
questionsandanswers (last visited Mar. 19, 2024) (stating that he is not licensed and is not
a member of the bar, but that he is a lawyer and attorney—“A licensed lawyer is called an
‘attorney-at-law.’ A non-licensed lawyer is called an ‘attorney-in-fact.’ BOTH OF THESE
TERMS ARE LAWYERS. BOTH OF THESE TERMS ARE ATTORNEYS”); Williams
& Williams Law Group, Services, https://www.williamsandwilliamslawfirm.com/services
(last visited Mar. 19, 2024) (laying out the “legal” services he offers and the fees he charges
for those services). Williams describes this case as their “first official case for infinite
money.” See Williams & Williams Law Group, Current and Previous Litigation,
https://www.williamsandwilliamslawfirm.com/current-and-previous-litigation                 (last
visited Mar. 19, 2024).

                                               3
     CASE 0:24-cv-00434-DWF-ECW            Doc. 22     Filed 03/20/24    Page 4 of 11




Hirte Decl., Ex. 2, Affidavit of Service on Defendant Compass Minnesota LLC, Knapp v.

Compass Minnesota, LLC, No. 24-cv-00100-SRN-DTS (D. Minn. Feb. 2, 2024). Despite

failing to properly serve Compass in the Compass case, Plaintiff and his wife filed a Motion

for Default Judgment against Compass.2 See Hirte Decl., Ex. 4, Notice of Default and

Motion for Default Judgment, Knapp v. Compass Minnesota, LLC, No. 24-cv-00100-SRN-

DTS (D. Minn. Feb. 22, 2024).

       In this case, Plaintiff attempted to serve Wings via certified mail, same as in the

Compass case. See Hirte Decl., Ex. 5, Summons and Complaint served on Wings via

certified mail on February 21, 2024. Like the defendants in Compass, Wings responded to

Plaintiff’s Complaint by bringing a Motion to Dismiss. See Def.’s Mot. to Dismiss, ECF

No. 7. As required by the Local Rules, counsel for Wings requested to meet and confer

with Plaintiff prior to filing its motion. See Ex. A to Plf.’s Mot. to Strike, ECF No. 14. In

response, Plaintiff informed counsel that he would “entertain a meet and confer once [he

had] submitted the Notice of Service of Process with the Court.” Id. Notably, Plaintiff did




2
 Not only had Compass been improperly served, but its response was timely and there was
no basis for Plaintiff and his wife to claim that Compass was in default. Compass was
served on January 25, 2024. Hirte Decl., Exs. 1–2. Applying Fed. R. Civ. P. 12, Compass’s
responsive pleading would have been due 21 days following its receipt of the Summons
and Complaint, which was February 15, 2024. However, under Rule 6, three additional
days are added when service is attempted by mail, which moved the due date to February
18, 2024. See Fed. R. Civ. P. 6(d) And because February 18, 2024, was a Sunday, and
February 19, 2024, was a legal holiday, the time for Compass to respond to the Summons
and Complaint did not expire until Tuesday, February 20, 2024, the day Compass filed its
Motion to Dismiss. See Fed. R. Civ. P. 6(a)(1)(C); see also Hirte Decl., Ex. 3, Defendants’
Joint Motion to Dismiss, Knapp v. Compass Minnesota, LLC, No. 24-cv-00100-SRN-DTS
(D. Minn. Feb. 20, 2024).

                                             4
     CASE 0:24-cv-00434-DWF-ECW             Doc. 22     Filed 03/20/24   Page 5 of 11




not inform counsel that he was still in the process of serving Wings—merely that he had

not yet filed a notice of service with the Court. See id.

       In response to Wings’ Motion to Dismiss, Plaintiff filed a Motion to Strike and a

Motion for Sanctions against Attorney Hirte. In his Motion for Sanctions, Plaintiff accuses

Attorney Hirte of “malicious prosecution,” violating 15 U.S.C. § 1, and violating

Minnesota Professional Rules of Conduct 3.3 and 3.4. See Plf.’s Mot. for Sanctions, ECF

No. 16.

                                       ARGUMENT

I.     Sanctions Are Not Warranted Because Wings’ Motion to Dismiss Was Not
       Premature or Otherwise Improper.

       In support of his Motion for Sanctions, Plaintiff asserts that Attorney Hirte did not

inform the Court that Wings had not yet been served and concludes Attorney Hirte

prematurely filed Wings’ Motion to Dismiss because service on Wings had not yet been

perfected. See Plf.’s Mot. for Sanctions at 1–2. This argument is meritless for several

reasons.

       First, Wings argued in its Motion to Dismiss that it had not been properly served

because it was served via certified mail. See Def.’s Mot. to Dismiss at 20–22, ECF No. 9.

Plaintiff’s claim that Attorney Hirte did not inform the Court “that Service had NOT been

perfected on [Wings]” is thus absurd because one of Wings’ arguments in its Motion is that

service had not been perfected on Wings.

       Second, Plaintiff’s response to the requested meet and confer did not inform counsel

that he intended to personally serve Wings—he simply stated that he would “entertain a



                                              5
     CASE 0:24-cv-00434-DWF-ECW             Doc. 22     Filed 03/20/24    Page 6 of 11




meet and confer once [he had] submitted the Notice of Service of Process with the Court.”

Id. Counsel reasonably understood Plaintiff’s response to be a denial of their request to

meet and confer, given that Plaintiff stated he would only “entertain” counsel’s request

after he filed a notice of service. Attorney Hirte also had no reason to interpret Plaintiff’s

response to mean he was still attempting to properly serve Wings. In fact, Plaintiff had

taken the opposite position in the Compass case—that service by mail was proper—and

even brought a Motion for Default Judgment based on that (incorrect) position. 3

       Third, even if Plaintiff had clearly stated in his email that Wings had not yet been

served and he would be perfecting service on Wings, a defendant is not prohibited by the

Federal Rules of Civil Procedure from filing a Motion to Dismiss before it has been

properly served. Plaintiff has not pointed to any such rule, nor would such a rule align with

the Federal Rules. Rule 12 permits a defendant to challenge the effectiveness of service of

process. See Fed. R. Civ. P. 12(b)(5). If service had to be perfected before a defendant

could bring a motion under Rule 12(b)(5), such a motion could never be raised because it

would either be moot if service had been perfected or premature if service had not been

perfected. In addition to lacking any legal support, Plaintiff’s interpretation would render

Rule 12(b)(5) superfluous.




3
  As Wings was required to raise any service of process defense in its Rule 12 Motion or
risk the argument being waived, Wings could not wait for Plaintiff to file his Notice of
Service to decide whether to include an insufficient service of process argument in its
Motion to Dismiss. See Fed. R. Civ. P. 12(b). Wings’ argument was valid when raised, and
now that Wings has been properly served, Wings will no longer pursue that argument in
its Motion to Dismiss.

                                              6
      CASE 0:24-cv-00434-DWF-ECW             Doc. 22     Filed 03/20/24      Page 7 of 11




       Moreover, Plaintiff has not pointed to any rule requiring a defendant to wait until

after a plaintiff has filed a certificate of service with the Court to bring a motion to dismiss.

Under Rule 3, an action is commenced upon filing with the Court. Fed. R. Civ. P. 3. While

the Federal Rules of Civil Procedure contain requirements that limit how late in time a

defendant can file a response to a complaint, no rule prevents a defendant from responding

earlier than required. Here, Attorney Hirte acted in a reasonable and prudent manner by

filing Wings’ Motion to Dismiss at a time where there could be no argument from Plaintiff

that Wings’ response was timely. Plaintiff had already taken the position in the Compass

case that service by mail was effective and wasted Court resources with a frivolous Motion

for Default Judgment. By filing Wings’ Motion to Dismiss earlier than required, Attorney

Hirte sought to avoid similar tactics here. Unfortunately, Plaintiff has taken a completely

contradictory position in this case and again wasted the Court’s time by filing a frivolous

Motion for Sanctions, this time arguing the Motion to Dismiss was brought too early.

II.    Plaintiff Failed to Follow the Procedural Requirements for Bringing a Motion
       for Sanctions.

       Plaintiff’s Motion must also be denied for failing to follow the procedural

requirements for bringing a Motion for Sanctions. Federal Rule of Civil Procedure 11

governs sanctions for written motions, such as Wings’ Motion to Dismiss. Rule 11 requires

that a party serve a motion for sanctions on the opposing party at least 21 prior days to

filing the motion. Fed. R. Civ. P. 11(c)(2). See also TRI, Inc. v. Boise Cascade Office

Prods., Inc., 2002 U.S. Dist. LEXIS 17935, *4 (D. Minn. Sep. 20, 2020) (“Since 1993,

Rule 11 has provided a mandatory ‘safe harbor’ period in connection with sanctions that



                                               7
       CASE 0:24-cv-00434-DWF-ECW          Doc. 22     Filed 03/20/24    Page 8 of 11




are initiated by motion. A party intending to move for Rule 11 sanctions must first serve

its motion on the opposing party. If, after twenty-one days, ‘the challenged paper, claim,

defense, contention, allegation, or denial is not withdrawn or appropriately corrected,’ the

party seeking sanctions may then file its motion with the Court.”).

        Because Plaintiff failed to comply with the mandatory “safe harbor” requirements

of Rule 11, his Motion for Sanctions must be denied.

III.    Attorney Hirte Has Not Engaged in Malicious Prosecution.

        Plaintiff’s Motion also asserts that Attorney Hirte has engaged in malicious

prosecution. This assertion is again absurd and demonstrates a fundamental

misunderstanding of basic legal principles.

        Malicious prosecution requires that: (1) a prior suit have been “brought without

probable cause and with no reasonable ground on which to base a belief that the plaintiff

would prevail on the merits; (2) the suit must be instituted and prosecuted with malicious

intent; and (3) the suit must ultimately terminate in favor of the defendant.” Stead-Bowers

v. Langley, 636 N.W.2d 334, 338 (Minn. App. 2001).

        Here, not only has Attorney Hirte not brought a previous suit against Plaintiff, but

she did not initiate the present suit or personally bring any motions against Plaintiff.

Plaintiff himself initiated this lawsuit, and Attorney Hirte acted on behalf of her client,

Wings, in responding to Plaintiff’s Complaint with an appropriate and timely Motion to

Dismiss. Plaintiff thus cannot bring a claim for malicious prosecution against Attorney

Hirte, much less obtain sanctions based on this unfounded allegation.




                                              8
        CASE 0:24-cv-00434-DWF-ECW             Doc. 22     Filed 03/20/24     Page 9 of 11




IV.      Attorney Hirte Has Not Violated 15 U.S.C. § 15.

         Plaintiff further claims that Attorney Hirte’s conduct “implicates a violation of 15

U.S.C. § 1, where her actions unjustly restrain Plaintiff’s fair access to justice, paralleling

the statute’s prohibition against trade restrains.” Plf.’s Mot. for Sanctions ¶ 2. This claim

is yet again absurd because 15 U.S.C. § 1 has no relevancy to Plaintiff’s Motion or this

case.

         The statute provides:

         Every contract, combination in the form of trust or otherwise, or conspiracy,
         in restraint of trade or commerce among the several States, or with foreign
         nations, is declared to be illegal. Every person who shall make any contract
         or engage in any combination or conspiracy hereby declared to be illegal
         shall be deemed guilty of a felony, and, on conviction thereof, shall be
         punished by fine not exceeding $100,000,000 if a corporation, or, if any other
         person, $1,000,000, or by imprisonment not exceeding 10 years, or by both
         said punishments, in the discretion of the court.

15 U.S.C. § 1.

         Nothing in this statute indicates it is intended to regulate or ensure access to justice,

nor does it provide a basis for imposing sanctions on attorneys or litigants.

         Plaintiff also fails explain how Attorney Hirte’s “actions unjustly restrain Plaintiff’s

fair access to justice.” Attorney Hirte filed a Motion to Dismiss on behalf of Wings, a fairly

common response to a complaint. Plaintiff can file his response to Wings’ Motion to

Dismiss and argue that the case should not be dismissed. But following proper procedural

rules and advocating on behalf of her client by filing a good faith Motion to Dismiss in no

way “unjustly restrain[s] Plaintiff’s fair access to justice.” As such, Plaintiff’s assertion

that Attorney Hirte should be sanctioned for violating 15 U.S.C. § 1 is meritless.



                                                 9
     CASE 0:24-cv-00434-DWF-ECW               Doc. 22      Filed 03/20/24      Page 10 of 11




V.     Attorney Hirte Did Not Violate the Minnesota Rules of Professional Conduct.

       Finally, Plaintiff’s Motion asserts that Attorney Hirte violated Minnesota

Professional Rules of Conduct 3.3 and 3.4. This argument is also meritless, as there is no

basis to find that Attorney Hirte violated the Rules of Professional Conduct.

       Rule 3.3 provides:

       A lawyer shall not knowingly: (1) make a false statement of fact or law to a
       tribunal . . . (2) fail to disclose to the tribunal legal authority in the controlling
       jurisdiction known to the lawyer to be directly adverse to the position of the
       client and not disclosed by opposing counsel; or (3) offer evidence that the
       lawyer knows to be false. . . .

Minn. R. Prof. Conduct 3.3.

       Plaintiff asserts that Attorney Hirte violated Rule 3.3 by failing “to disclose to the

court the significant fact of non-service on Defendant Wings Credit Union.” Plf.’s Mot. for

Sanctions ¶ 3.a. As already explained, Wings’ Motion to Dismiss expressly argued that

Wings had not been properly served. Thus, there is no basis to assert that Attorney Hirte

failed to disclose that Plaintiff had not yet personally served Wings.

       Rule 3.4 provides, in pertinent part:

       A lawyer shall not: (a) unlawfully obstruct another party’s access to evidence
       or unlawfully alter, destroy, or conceal a document or other material having
       potential evidentiary value. A lawyer shall not counsel or assist another
       person to do any such act; (b) falsify evidence, counsel or assist a witness to
       testify falsely, or offer an inducement to a witness that is prohibited by law;
       [or] (c) knowingly disobey an obligation under the rules of a tribunal except
       for an open refusal based on an assertion that no valid obligation exists…

Minn. Rules of Prof. Conduct 3.4.

       Plaintiff asserts—without explanation—that “Attorney [Hirte’s] litigation tactics,

aimed at harassment and based on a procedural oversight she failed to rectify, violate her


                                                10
     CASE 0:24-cv-00434-DWF-ECW             Doc. 22    Filed 03/20/24     Page 11 of 11




obligations to be fair to Plaintiff.” Plf.’s Mot. for Sanctions ¶ 3.b. Plaintiff’s Motion fails

to provide any factual basis for this claim. As noted above, the “litigation tactics”

referenced by Plaintiff consist of filing Wings’ Motion to Dismiss based on viable legal

arguments. Attorney Hirte has not “failed to rectify” any “procedural oversights” nor has

she violated any obligations to be “fair” to Plaintiff. Plaintiff fails to identify any actual

violations of Rule 3.4 that would support his Motion for Sanctions.

                                      CONCLUSION

       For the foregoing reasons, Plaintiff’s Motion for Sanctions is meritless and must be

denied.

                                        FOLEY & MANSFIELD, PLLP


Dated: March 20, 2024             By: /s/ Tessa Mansfield Hirte
                                        Lisa M. Lamm Bachman (#264313)
                                        Tessa Mansfield Hirte (#0396591)
                                        Paul W. Magyar (#0399108)
                                        250 Marquette Avenue, Suite 540
                                        Minneapolis, MN 55401
                                        (612) 338-8788
                                        Email: llammbachman@foleymansfield.com
                                                tmansfield@foleymansfield.com
                                                pmagyar@foleymansfield.com

                                        Attorneys for Defendant




                                              11
